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UNITED STATES BANKRUPTCY COURT
SOUTHERN DIS'I`RICT OF TEXAS
HOUSTON DIVISION

IN RE:

DRILLING STRUCTURES CASE NO. 18-33395

INTERNATIONAL, INC.

W=W§WD¢MGO=COB

DEBTOR CHAPTER 11

I)EBTOR’S MOTION FOR ORDER ALLOWING MEDIA'I`ION
REGARDING PRE-PETITION STATE COURT LI'I`IGATION

THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU.
IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT 'I`HE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS
()F THE DATE THIS WAS SERVEI) ON YOU. YOUR RESPONSE MUS'I` STATE WHY
'I`HE MO'I`ION SHOULD NOT BE GRANTED. IF YOU I}O NO'I` FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU.
IF Y()U OPP()SE THE M()TI(}N AND HAVE NOT REACHED AN AGREEMENT, YOU
MUS'I` AT'I`ENI) THE HEARING. UNLESS 'I`HE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSII)ER EVIDENCE AT THE HEARING AND MAY DECIDE THE
MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
To The Honorable United States Bankruptcy Judge:

Drilling Stl'uctures Internatioual, inc. (“DSI” or the “Debtor”) hereby files this motion for
entry ofan order allowing mediation regarding pre-petition state court iitigation, and granting related
relief as further described herein. In Support of the l\/Iotion, the Debtor, by and through its
undersigned counsel, respectfully represents:

JURISI)ICTION AND VENUE
l. This Court has jurisdiction to consider the Motion under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C.§ l§7(b). Venue of this case and the Motion in this

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district is proper under 28 U.S.C. §§ 1408 and 1409.

BACKGROUND

2. ` DSI is a Co~Defendant in a Wrongful death cause of action pending in Cause No.
2016-522599, in the 72“‘1 ludicial District Court of Lubbock County, Texas, Velez, et al vs, Norron
Energy Drilling, LLC and Drilling Structures Internatz`onal, Inc.

3. The parties have agreed to mediate the above-described litigation in an attempt
to settle all claims The mediation has been scheduled for August 22, 2018, in Dallas, Texas. The
parties have selected Franl< E. “Dirk” Murchison as the mediator. Mr. Murchison is an experienced
mediator Who is board certified in civil trial law and personal injury trial law, Texas Board of Legal
Specialization, Whose offices are located in Lubbock, Texas and Taos, New l\/lexico. l\/[r. l\/iurchison
is licensed in Texas and New Mexico. Mr. Murchison’s practice consists of arbitration and
mediation With an emphasis on catastrophic personal injury, and complex commercial cases.

4. Payinent of the fees for the mediation Wiil be divided three Ways by the parties Witb
DSI’s one~third share to be paid by DSI’s insurance carriers.

RELIEF REQUESTED

5. Debtor Seeks entry of an Order (the “Order”) authorizing the Debtor to enter into a
mediation agreement With the parties to the above-described litigation; and allowing Debtor’s one»
third share of the mediation fees to be paid by it’s insurance carriers Debtor believes that entry of
the Order is in the best interests of the estate

6. Based on the foregoing, the Debtor submits that the relief requested herein is in

the best interest of the Debtor, its estate, creditors, stakeholders and other parties in interest.

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CONCLUSI(}N
WHEREFORE, the Debtor respectfully requests that the Court enter an Order granting

the relief requested in the l\/lotion and such other and further relief as may be just and proper.

Respectfully submitted,

FUQUA & ASSOCIATES, PC

BY: /s/ Rz'chclra’ L. Fuclua
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COUNSEL FOR DEBTOR

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was forwarded by ECF

ff

W,.,
and/or regular United States mail, postage prepaid, on August 2018 to the parties listed on

the attached service list.

/s/ Rz'cha.m’ L. Fuaua
Richard L. Fuqua

Case 18-33395

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